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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

T.G.
                                               Plaintiff,
v.                                                           Case No.: 1:17−cv−03571
                                                             Honorable Joan B. Gottschall
Chicago Public Schools District #299, et al.
                                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 31, 2019:


        MINUTE entry before the Honorable Joan B. Gottschall: Defendants' agreed
motion for entry of a protective order [87] is granted. Enter order. The motion hearing set
for 6/5/19 is stricken; no appearance required. Mailed notice(mjc, )




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